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 7                        UNITED STATES DISTRICT COURT
 8                      CENTRAL DISTRICT OF CALIFORNIA
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11   Joseph McDaniels,              )                EDCV 14-02594JVS(JDEx)
                                    )
12                                  )                ORDER OF DISMISSAL UPON
                 Plaintiff,         )
13                                  )                SETTLEMENT OF CASE
           v.                       )
14                                  )
     United States of America,      )
15                                  )
                 Defendant(s).      )
16                                  )
                                    )
17   ______________________________ )
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19         The Court having been advised by the counsel for the parties that the above-
20   entitled action has been settled,
21         IT IS ORDERED that this action be and is hereby dismissed in its entirety
22   without prejudice to the right, upon good cause being shown within 75 days, to reopen
23   the action if settlement is not consummated.
24
25   DATED: October 15, 2021                             __________________________
                                                         James V. Selna
26                                                       U.S. District Judge
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